 Case 1:22-cv-00173-LDH-LB Document 1 Filed 01/14/22 Page 1 of 10 PageID #: 1


                                                                                          FILED
              UNITED STATES DISTRICT COURT U.S. DISTR^^cfoURT E^D.N.Y.
                                                                                   ★ JAN H 2022 *
                                            for the
                                                                                    BROOKLYN OFFICE
                                   Eastern District of New York
Andre 0. Cormier

              Plaintiff                                                                  omegowfg

                 V.
                                                                                            JAN 1 'i 2021
                                                                                         PRO SE OFFinP
JPMC Specialty Mortgage LLC                                Civil Action No.

              Defendant

                   Cause of Action False Claim 12U.S.C3:                             DeARCYHALLJ.
                                                                                     bloom, M.J.
                   "All Exhibit are attached to flash drive"

   Whereas on or about February20, 2020 discover Sherry A. Hunt civil case on the
internet, Andre C. Cormier{RELATOR}Commencedaquitam action the(Civil Action)
pursuant to the False Claim Act,[31 U.S.C:3730(b)]byfilingacomplaintin the United State
District Courts against Defendants attheir headquarter. It is 140 different Defendants in 80
Unite State District Counts this complaintwill be filed in. Hebrews 13:20-21: Nowthe God of
peace,who brought upfromthedeadthegreatShepherdofthesheepthroughthebloodof
the eternal covenant, even JesusourLord,equlpme inevery good thing todo His will,
working inmethatwhich Is pleasing in His sight,through Jesus Christ,to whom be the glory
forever and ever. Amen.    1


     Whereas in the Civil Action, Relator alleges that Defendants violated the False Claims Act
[31 U.S.C:3729 et seq.]in connection that Defendant use[Exhibit: A fraudulent Notice Of
DefaultAndForeclosureSaleinstrument],by making himselfthecurrentmortgageeviolating
+[12 U.S.C:3757],because thecurrentmortgagee is nottheownerofthe Deed ofTrust
recorded in the county clerk office, that is on these Notice Of Default And Foreclosure Sale.
Defendant submitted false claim to[12 U. S.C:1710(a)]Payment Of Insurance and collect
taxpayer money off of these toxic mortgages.2

     This why the State ofTexas legislated a law to[Exhibit: B Destroy Notice ofSale],to avoid
from complying.[12U.S.C 3758], toallowtheDefendantstotargetthesemortgagorwhoisa
part ofthis[Exhibit: C Multi-State Class Action Suit],certain borrows who obtained mortgage
from AmeriquestJan 1999toDec312005by Gregg AbbotttheAttorneyGeneralofTexas,at
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thattimeagainst(AmeriquestParties)resolvedclaimsthatAmeriquestpartiesengagedin
unlawful mortgage lending practices. To extort the mortgagor out of the property with
fraudulent Notice Of Default And Foreclosure Sale Instruments violating[12 U.S.C.3757].So
Defendantcan submltafalseclalmtogetthelnsurancepaymentoffofatoxicmortgagethat
Defendant is not owner offrom[12 U.S.C; 1710(a)].[Exhibit: D Myjourney through Tarrant
CountryCourts]wlllshowtheextentofpropertytheftbyextortloncommitted by Judgesand
DefendantsAttorneytoforcemetotake[Exhibit:ERelocatlonAsslstances],eachstepthrough
the courts,they would try toforce meto take Relocation Assistancesthat wouId convey my
homestead overtothe Defendant,thiswould separate Defendantfromthetoxicmortgageto
file a false claim,to collect taxpayer money off ofthese toxic mortgages. 3

    These borrows are protected by Texas Constitution which provides thata Texas Home
Equity note on a homestead Is notvalid unless Its secures a debtthat meetspecific
constitutional condition according to[Tex.Const.Art.16Sec50(c)]255.06]4

  [ArtlcleXVI]oftheTexas Constitution bysection[50(a)(6)(Q)(X)(10)]provide thatthe
lenders will forfeit all principal and Interest Ifthe lendersfall to comply with the obligation
unless the lenders cures. Thefallure to comply as provided the above section.These borrows
mortgage are"NULLITY"according to the above class action suit,also supported by the[US.
Const. Art. VI Cl .2.].5

ThIslsthevehlcletheMORTGAGEELECTRONICREGISTRATIONSYSTEMtheDefendantsusesto
committeethefalseclalmact[31U.S.C.;3729]by using DifferentindividuarorM.E.R.S)
participation Inthe DirectEndorsementLender Program bycausing the United Statesorlts
departmentor agentsto Insure mortgagesorlglnated....by"differentlndlvlduar'or(M.E.R.S),
based upon Its false statements that said loans were consistent with the United States
regulation and rule with regard tothe quality ofsaid mortgagesorloans.When foreclosure
occurs DefendantsusesthefraudulentNotlce OfDefaultAnd Foreclosure Sale,by making
himself the current mortgagee violating [12 U.S.C:3757], to extort mortgagor out of the
property. Defendants submits a false claim to[12 U.S.C:1710(a)]Payment Of Insurance and
collecttaxpayer money.These mortgage Is afterthe classsuit, beenforeclose on within 2to8
years.These procedures keepthe Defendants namesoffoforiginated ofthe mortgages.6

      Texas Local Gov.Code Chapter 192,title Instrumentto be release governs,section 007
title: Record that Is filed, register or record In the county clerk office a person mustfiled,
reglsterorrecordanotherlnstrumentrelatlngtotheactlonlnthesamemannerastheorlglnal
Instrument was filed, register or record.7

    In a suittoforeclosure a mortgage.Itshould be In the name ofthe real owner ofthe debt
secured(emphasis added).The Real-Party-ln-lnterest-Doctrine Concurs,along with
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[Fed.R.Civ.P.17]An action must be prosecuted in the name ofthe real party in interest, of
release and other action(a)To release transfer, assign, or take other action relating to an
instrument. 8

[Exhiblt:FREPORTFROMBUREAUOFCOMSUMERFINANCALPROTECTION];WellFargoBank
N.Asaid:theywerenottheowneroftheDEEDOFTRUST.Dotoalltheinjusticefromthestate
ofTexasallthe waythrough TarrantCountry,I have nowayto makeWellsFargo N.Ato paidfor
thevalueof my hometheystole,which is$275,000today value,so I am asking foryour help.

     This howtheSTATE OFTEXAS infringerupon the U.S Const.Amend 5*^013and 4,and U.S
Const.14^ Amend Cl,2.[Exhibit:B Destroy Notice OfSale]which violate[12 U.B.C.3758]. 9

   State of Texas infringerupon the Constitutional Provision that prohibits the government
from unfairly orarbitrarily depriving a person oflife, liberty or property.There aretwo Due
ProcessClausesintheU.SConstitution,oneisthe5''^Amendmentapplyingtothefederal
government,and onein the 14^ Amendmentapplying tothestates.5*^ AmendmentDue
Process Clause also applies to the states underthe incorporation doctrine.

    U.SConst.Amend V CL.3&4state...norbe deprived oflife,liberty,orproperty,without
due process of law nor shall private property be taken for public use, without just
compensation.

     U.S. Const.Amend XIV,CL.2. Provides in part: nor shall any state deprive any person of
life, liberty, or property without due process of law.

    U.S. Const.Art VI CL.2.The law of United States... shall be supreme law ofthe land:and the
Judgesin everystateshall be bound thereby anything in the constitution orlawofanystateto
the contrary not with standing.10

    Texas Constitution is not a document that he consults at his convenience.The Constitution
is uninterrupted chapterofgovernmentalstructurethatlimitsthe Governor Abbottabilityto
act as a King.

                          DON'T MESS WITH TEXAS


    Texasneed to be messwith bylegislatealawtodestroythe Notice OfDefaultAnd
Foreclosure Sale.

Thousands of past, present,and future Texans will continuously be deprive out ofdue process
ofthe law. Defendants will continuous to steal taxpayer moneyfrom "HUD."11
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    This is the information to get all the people that is in the Multi-State Class Action Suit of
Texas.Because the mostforeclosure happen in these cities Harries County,El Pasco,Dallas
Country,San Antonia Country,was unabletogetaccessto theirCountry records.When
PresidentTrump made his vicious attackon Consumer Financial Protection Bureau,through
Supreme Court they

 Handed Mr. Trump more authority over the federal agency. Mr. Trump named Katy Kraninger
to be head of C.F.P.B agency,we no longer was able to get access to any of the country records
in the state of Texasfrom January of 2019 to January of 2020.

                  Settlement Administrator 1 -800-420-5874


                 www.amerlquestmultisstatesettle.com




                 WITH SETTLEMENT AGREEMENT EXHIBIT C


                       OF CLASS ACTION SUIT 12




 Thisisa multi-state class action suit,getthetoxicmortgagefrom this multi-state classaction
suit, and check and see how many "HUD" paid out on, if someone will check each state
litigationguideandiftheylegislate"NOTREQUIRETOBEFILEDTHE NOTICEOF DEFAULT AND
FORECLOSURE SALE,theabovepracticeisoccurringinthatstate.ifsojustchecktheforeclosure
recordthat"HUD"paidoutanddemandthe NOTICE OF DEFAULTAND FORECLOSURE SALE
from the county clerk office or Defendant. This is when foreclosure was at its highest, right
afterMr.Trump vicious attackon C.F.P.B,when Mr.Benson Carson was U.SSecretary of
Housing and Urban Development. 13



Now!understandwhenPresidentBushin2000toldeverybodytogetahomeandthefinancial
destruction of2008 do to these toxic mortgages.The States legislate a lawthatdeprive the
homeowners out of their Constitution Rights, and how the Republican is placing these Judges in
Supreme Court,Appellate courts. U.S.District Courts,all across America,so they can defend the
theftistakingplaceinH.U.D.Heartlesstakingthewealthofthehomeownersandsettingthem
out on the street destroying their family, by pushing them into poverty. 14
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                        VENGEANCE OF GOD: PSALMS: 94:1-23

Date: 12-28-2021



                                 Signature ofthe attorney or unrepresentedparty


                              Andre 0. Cormier

                                                                   Andre C. Cormier

                                                        Andrecormier66@gmail.com
                                                                        PO Box 251

                                                                      817-262-7731
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                      UNITED STATES DISTRICT COURT
                                                       for the
                                              Eastern District of New York
     Andre C. Cormier

                     Plaintiff

                         V.                                             Civil Action No.
JPMG Specialty Mortgage LLC
                     Defendant


    Contingent Contract for Legal Fee According to [31 U.S.C. 3730]

            These are the laws I had to leam to fight Wells Fargo for illegally foreclosure on my homestead,
    through this joumey I discover that this was taking lace state wide in Texas, by discovering Fraudulent
     Notice of Default and Foreclosure Sale. Defendants have submitted False Claims to H.U.D,collecting
     taxpayers' money offofthe toxic mortgage. All the legal work is on the flash drive to this complaint
     as Exhibits.


             We went through each county(248 counties)foreclosure records, looking through thousands of
     documents ofeach county, to find the feudulent Notice ofDefault and Foreclosure Sale instruments, and
     discover a 137 Defendants committed property thefl. The instruments are Exhibit: A on the flash drive.

             I want to give thanks to the three ladies for their diligence work in helping me and my daughter to
     bring this to the light, they are to share the $200,00 legal fee, according to their percent, paid directly to
     them.50% goes to Maegan Marsical,25% goes to Leslie Ortiz, and the remaining 25% goes to Taraney
     Ephraim-Surrell.

     Date: 12-28-2021                                            yj / /^ /^ # '
                                                     Signature ofthe attorney or unrepresented party


                                                                           Maegan Mar^cal
                                                                        mageanbm@yahoo.com
                                                                             469-223-5574



                                                                             Leslie Orii(/
                                                                         OlesUe32@gmailcom
                                                                             214-7963580


                                                     /
                                                                          ^aney Ephraim-Surrell
                                                                     taraneyephram@gmailcom
                                                                             214-505-8609
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                                UNITED STATES DISTRICT COURT
                                                                   for the

                                                       Eastern District of New York
               Andre C. Cormier

                                Plaintiff



                                   V.                                                Civil Action No.


                 JPMC Specialty Mortgage LLC

                                Dffendant

           NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To: JPMC Specialty Mortgage LLC
(Name ofthe defendant or-ifthe drfendant is a corporation,partnership, or association - an officer or agent authorized to receive
service)

Why are you getting this?

       A lawsuit has been filed against you,or the entity you represent, in this court under the number shown
above. A copy ofthe complaint is attached.

       This is not a summons,or an official notice from the court. It is a request that, to avoid expenses, you
waive formal service ofa summons by signing and returning the enclosed waiver. To avoid these expenses,
you must retum the signed waiver within 30      days(give at least 30 days, or at least 60 days ifthe defendant is outside
anyjudicial district ofthe United States) from the date shown below, which is the date this notice was sent. Two
copies ofthe waiver form are enclosed, along with a stamped, self-addressed envelope or other prepaid means
for retuming one copy. You may keep the other copy.

What happens next?

       If you retum the signed waiver, I will file it with the court. The action will then proceed as if you had
been served on the date the waiver is filed, but no summons will be served on you and you will have 60 days
from the date this notice is sent(see the date below)to answer the complaint(or 90 days if this notice is sent to
you outside anyjudicial district of the United States).

       If you do not retum the signed waiver within the time indicated,I will arrange to have the summons
and complaint served on you. And I will ask the court to require you, or the entity you represent, to pay the
expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.

I certify that this request is being sent to you on the date below.
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      nate: 12-28-2021




                                  Signature ofthe attorney or unrepresented party


                               Andre C. Cormier


                                                                    Andre C. Cormier

                                                          Andrecormier66@gmail,com

                                                                          PO Box 251

                                                                        817-262-7731
             Case 1:22-cv-00173-LDH-LB Document 1 Filed 01/14/22 Page 9 of 10 PageID #: 9




                                UNITED STATES DISTRICT COURT
                                                                   for the

                                                       Eastern District of New York
                Andre C. Cormier

                                Plaintiff



                                    V.                                               Civil Action No.


                  JPMC Specialty Mortgage LLC

                                Defendant

            NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

Xo: JPMC Specialty Mortgage LLC
{Name ofthe defendant or-ifthe defendant is a corporation, partnership, or association - an officer or agent authorized to receive
service)

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you must return the signed waiver within 30             days {give at least 30 days, or at least 60 days ifthe defendant is outside
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I certify that this request is being sent to you on the date below.
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  Date: 12-28-2021




                                  Signature ofthe attorney or unrepresentedparty


                               Andre C. Cormier


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